
377 U.S. 404 (1964)
UNION OIL CO. OF CALIFORNIA
v.
STATE BOARD OF EQUALIZATION OF CALIFORNIA.
No. 968.
Supreme Court of United States.
Decided June 1, 1964.
APPEAL FROM THE SUPREME COURT OF CALIFORNIA.
Hart H. Spiegel for appellant.
Stanley Mosk, Attorney General of California, Dan Kaufmann, Assistant Attorney General, and Ernest P. Goodman and John J. Klee, Jr., Deputy Attorneys General, for appellee.
PER CURIAM.
The motion to dismiss is granted and the appeal is dismissed for want of a substantial federal question.
MR. JUSTICE HARLAN took no part in the consideration or decision of this case.
